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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:16-cv-2155-WJM-SKC

   RAYMOND LYALL, on behalf of himself and all other similarly situated, et al.,

          Plaintiffs,

   v.

   CITY AND COUNTY OF DENVER,

          Defendant.
                                                                                                 ______

    PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION FOR ORDER REGARDING
     DATES AND INCIDENTS AT ISSUE FOR TRIAL AND MOTION TO AMEND THE
                          FINAL PRETRIAL ORDER
                                                                ______

          Plaintiffs, by and through their attorneys Jason Flores-Williams, and David A. Lane and

   Andy McNulty of KILLMER, LANE & NEWMAN, LLP, hereby submit the following Response to

   Defendant’s Motion for Order Regarding Dates And Incidents At Issue For Trial and Motion to

   Amend the Final Pretrial Order, and in support, state as follows:

   1. Introduction

          At the outset, Plaintiffs state simply that they wish this Court to order that: Plaintiffs be

   allowed to present at trial (1) evidence relating to the sweeps outlined in the Final Pretrial Order,

   (2) evidence relating to a sweep that occurred on July 9, 2018 (which only recently came to light

   but is extremely probative of both the ongoing nature of the sweeps and that they are customary),

   and (3) evidence solicited from Denver officials about the ongoing nature of the sweeps and

   plans for future sweeps. Plaintiffs believe these parameters allay any concern by Denver that it

   will be subject to “trial by ambush.”



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          Plaintiffs move to, both, clarify the dates they wish to present evidence of at trial and

   amend the Final Pretrial Order to allow one witness who filmed the July 9, 2018 sweep,

   Guillermo Roques Escolar, and one exhibit, the video of the July 9, 2018 sweep, to be added to

   the Final Pretrial Order.

   2. Factual and Procedural Background

          The core issue in this lawsuit has never been a moving target: Plaintiffs seek to hold

   Denver accountable for its custom, policy, and practice of unconstitutionally seizing, without due

   process, the property of Plaintiff Class during, what has come to be known as, the homeless

   sweeps.1 At the time of the filing of the Complaint, Plaintiffs included the incidents during

   sweeps they knew of where Denver officials’ seizure of their property had, up to that point,

   violated their constitutional rights. [Doc. #1]. Included in the Complaint were sweeps that

   occurred on October 24, 2015, December 15, 2015, March 8, 2016, March 9, 2016, July 13,

   2016, and a sweep during the week of August 20, 2016. Id. After the filing of the Complaint, and

   through the discovery process, it came to light through the discovery process that there were

   other incidents wherein Denver seized (and discarded) Plaintiffs property without due process of

   law. When these incidents came to light, Plaintiffs disclosed them.




   1
     In its motion, Denver defines Plaintiffs’ claims far too narrowly. Plaintiffs not only seek to hold
   Denver accountable for summarily discarding some of their property, but also for seizing
   property that was not destroyed or discarded without due process of law. The factual and legal
   authority for Plaintiffs’ claims is laid out in their Amended Complaint and, more thoroughly, in
   their Motion for Summary Judgment. [Doc. #54]; [Doc. #124].
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          Plaintiffs disclosed the identity of Rafael Blanes, and his experience during the pipe town

   sweep2 that occurred along the Platte River in August 2016 and on September 19, 2016,3 in a

   supplemental disclosure and declaration that was sent to Denver in May 2017. Exhibit 1,

   Declaration of Rafael Blanes; Exhibit 2, Plaintiffs’ Supplemental Initial Disclosures Pursuant to

   Federal Rule of Civil Procedure 26(a)(1). And the incidents that occurred on March 8, 2016,

   March 9, 2016, March 25, 2016, July 13, 2016, November 15, 2016, and November 28, 2016,

   were explored in-depth during depositions conducted by Denver and were included in Plaintiffs’

   summary judgment briefing. [Doc. #124].

          In response to Plaintiffs inclusion in the summary judgment briefing of incidents not

   outlined in the Complaint, Denver moved to strike evidence of those incidents. [Doc. #137]. This

   Court denied that motion and held that “all alleged sweeps, whenever they happened, are

   relevant” to Plaintiffs’ claim that “Denver [has a custom, practice, or policy] of engaging in the

   Homeless Sweeps” in violation of Plaintiffs’ constitutional rights and considered evidence of

   sweeps not outlined in the Complaint in denying Denver’s motion for summary judgment. [Doc.

   #167], p. 13.

          Since the summary judgment briefing, Plaintiffs learned of additional dates on which

   Denver conducted unconstitutional sweeps of Plaintiff Class Members’ property. Plaintiffs




   2
     Pipe town was a community of homeless individuals along the South Platte River that
   contained a number of abandoned cement pipes that its residents used for shelter. Chris Walker,
   Homeless Sweeps Now Targeting Denver’s Most Hidden Encampments, WESTWORD, (September
   21, 2016) https://www.westword.com/news/homeless-sweeps-now-targeting-denver-s-most-
   hidden-encampments-8332582.
   3
     Mr. Blanes declares that the first pipe town sweep occurred on August 20, 2016, but continued
   on September 19, 2016. The declaration gave Denver sufficient notice that this sweep would be
   relied upon in support of Plaintiffs’ claims and Denver has been aware of the date when the pipe
   town sweep occurred because their officials conducted that sweep. Denver will have the
   opportunity to cross-examine Mr. Blanes about this at trial.
                                                    3
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   learned that a sweep occurred on June 1, 2017, and immediately disclosed that incident, and the

   witnesses who would testify regarding it, in a supplemental disclosure pursuant to Fed. R. Civ. P.

   26. Exhibit 3, Plaintiffs’ Second Supplemental Disclosures Pursuant to Fed.R.Civ.P. 26(e)(1).

   Denver now has the opportunity to depose these witnesses and will be doing so at the beginning

   of September. Denver has received the opportunity to discover information from these witnesses

   as they normally would through the course of discovery.

           All of the above sweeps (and the witnesses who have testimony regarding those sweeps)

   were disclosed prior to the entry of the Final Pretrial Order. [Doc. #173]. And, in the Final

   Pretrial Order, Plaintiffs stated that evidence of all sweeps since 2015 (and even post-dating the

   Final Pretrial Order) would prove their claims. Id., pp. 4-6. The Final Pretrial Order also listed a

   number of specific sweeps as probative, including December 15, 2015, March 8, 2016, March 9,

   2016, July 13, 2016, September 19, 2016, November 15, 2016, November 28, 2016, June 1,

   2017, November 13, 2017, and December 5, 2017. Id., p. 5.

           Since the entry of the Final Pretrial Order, Denver has conducted more sweeps involving

   ten or more Denver officials. Plaintiffs recently learned that Denver conducted one such sweep,

   which violated Plaintiff Class Member’s constitutional rights, on July 9, 2018.4 Plaintiffs have

   disclosed a video of this sweep and the individual who witnessed (and filmed) the sweep to

   Denver in an official Fed. R. Civ. P. 26 disclosure. Exhibit 4, Plaintiffs’ Third Supplemental

   Disclosures Pursuant to Fed. R. Civ. P. 26(e)(1). Plaintiffs wish to introduce this probative

   evidence at trial.

   3. Rebuttal of Denver’s Procedural History And Factual Allegations




   4
    The video of this sweep can be viewed online and is available to the public. City Destroys All
   Of Homeless Person’s Property, YOUTUBE, https://www.youtube.com/watch?v=7xQVJulQpaA.
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          The Court did not ask for briefing as to whether evidence regarding the sweeps that were

   outlined in Plaintiffs’ summary judgment motion and listed in the Final Pretrial Order can be

   introduced at trial. This Court has already decided that issue. [Doc. #167], pp. 13-14; [Doc.

   #177]. And Denver should not be allowed to relitigate it, for the reasons discussed infra. Instead,

   this Court asked for briefing on how to proceed with future, and ongoing, sweeps performed by

   Denver. Plaintiffs have a simple solution to this plan: only allow evidence of sweeps that have

   been disclosed up to this point in time. This would allay Denver’s concerns of “trial by ambush”

   while still allowing Plaintiffs meet their evidentiary burden of establishing that Denver’s

   unconstitutional conduct during the sweeps was pursuant to a custom, policy, and practice, and

   not just the one-off actions of rogue Denver employees.

          To the extent Denver’s motion complains about the number of sweeps Plaintiffs plan to

   present evidence regarding at trial, Denver only has itself to blame for the growing evidence that

   it is violating the Plaintiff Class’ constitutional rights. Had Denver stopped sweeping the

   property of the Plaintiff Class upon the filing of this lawsuit or even earlier, when it was on

   notice of the unconstitutionality of the sweeps, there would not be the amount of incidents that

   go toward proving the claims of the Plaintiff Class.

          Denver asserts that only three dates have been subject to factual development in the usual

   course of discovery. This is false. Denver itself factually developed the other incidents through

   the depositions of multiple members of the Plaintiff Class. And Denver has now been granted the

   opportunity to depose the listed witnesses as to the June 1, 2017 sweep. To say that the other

   dates listed in the final pretrial order haven’t been subject to factual development is not only

   disingenuous, it’s blatantly false.




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          Finally, Denver states in its motion that Plaintiffs continue to “come up” with incidents.

   Plaintiffs reject the implication of this phrasing. Denver is causing the continued violation of

   Plaintiffs constitutional rights by seizing, and discarding, Plaintiffs belongings. Denver is in

   complete control as to whether additional incidents relevant to the claims in this lawsuit occur,

   yet continues to violate the constitution. Plaintiffs are not “coming up” with incidents; Denver is

   causing them directly.

   4. Argument

          4.1 The manifest injustice standard does not apply to all of the incidents that were
              disclosed prior to, and included in, the Final Pretrial Order.

          With regard to the incidents included in the Final Pretrial Order, and the witnesses who

   have testimony regarding those incidents, Plaintiffs do not seek to amend, either expressly or

   constructively, the Final Pretrial Order. As Denver acknowledges, the utilization of evidence at

   trial from incidents included in the Final Pretrial Order, and disclosed prior to the entry of the

   Final Pretrial Order, is not subject to Fed. R. Civ. P. 16(e). [Doc. # 179], pp. 6-7. Fed. R. Civ. P.

   16(e) only applies when a party seeks to modify the Final Pretrial Order. The “manifest

   injustice” standard simply does not apply to the incidents included in the Final Pretrial Order.

          4.2 This Court has already held that Plaintiffs were not required to amend their
              Complaint to include all dates on which sweeps occurred.

          Denver asks this Court to review Plaintiffs inclusion of sweeps prior to the entry of the

   Final Pretrial Order under the standard outlined in Fed. R. Civ. P. 16; in other words, the

   standard applied when a plaintiff moves to amend the complaint after the joinder/amendment

   deadline outlined in the scheduling order has lapsed. [Doc. #179], pp. 6-7. Denver argued at the

   summary judgment stage that the evidence of sweeps not alleged specifically in the Amended

   Complaint was an attempt to constructively amend the complaint. Plaintiffs submitted briefing in



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   opposition.5 And this Court rejected Denver’s argument. [Doc. #167]. 6 This Court said it best in

   its Order on Pending Motions regarding Plaintiffs use of evidence relating to dates not listed in

   the Amended Complaint:

          Plaintiffs have not inserted new theories of liability of new claims for relief
          through which they hope to be awarded damages. They have instead asserted
          evidence that they believe demonstrates what they sought to prove in the first
          place – an ongoing pattern or practice of unconstitutional sweeps that should be
          enjoined.

   [Doc. #167], pp. 13-14. The “law of the case” doctrine compels this Court to remain consistent

   with its prior rulings, despite Denver’s attempt to re-litigate this issue. Under the law of the case

   doctrine, “once a court decides an issue, the same issue may not be relitigated in subsequent

   proceedings in the same case.” Arizona v. California, 460 U.S. 605, 618-19, (1983); United

   States v. Monsisvais, 946 F.2d 114, 115-16 (10th Cir. 1991).7 This Court has already ruled that



   5
     See [Doc.#148]. It is well settled that “evidence need not be pleaded.” United States ex rel.
   Mikes v. Straus, 853 F. Supp. 115, 117 (S.D.N.Y. 1994); see also In re: Whitaker, 2014 WL
   1329363 (Bankr. N.M. Mar. 28, 2014) (stating that “a complaint need not ‘include specific
   evidence [or] factual allegations in addition to those required by Rule 8’”) (citing Arista Records,
   LLC v. Doe 3, 604 F.3d 110, 119 (2nd Cir .2010); E.E.O.C. v. Peoplemark, Inc., 732 F.3d 584,
   619 (6th Cir. 2013) (holding that a complaint “need not include evidence”).
   6
     Denver never filed a motion to reconsider and, therefore, has waived any objection it had to this
   Court’s ruling.
   7
     Denver also raises the issue of the witnesses Plaintiffs included in the Final Pretrial Order,
   despite the fact that this Court already ruled on that issue. [Doc. #177], p. 2. Specifically, the
   Court held that the witnesses Plaintiffs listed as may call witnesses, who had not been deposed
   yet by Denver, would be made available for deposition and, if they appeared at their deposition,
   would be permitted to testify at trial. Id. While counsel for Denver that drafted the motion in
   front of this Court, Geoffrey Klingsporn, was not at counsel table during that hearing, he was
   present in the gallery. Therefore, counsel for Denver knows that this Court has already decided
   this issue, yet, again, raises it with the Court in this motion (and, not as would be more
   appropriate, in a motion to reconsider). This continued relitigation of this issue strikes at the
   heart of the rationale behind the “law of the case” doctrine: “to promote both judicial efficiency
   and the public policy that litigation should come to an end, and the doctrine is designed to
   quickly resolve disputes by preventing continued reargument of issues already decided.”
   Farmers Home Admin. v. Buckner (In re Buckner), 218 B.R. 137, 142 (10th Cir. BAP 1998); see
   also 18 Charles Alan Wright, Arthur R. Miller, & Edward H. Cooper, Federal Practice and
   Procedure § 4478 (1981) (stating that the purpose of the “law of the case” doctrine is to
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   Plaintiffs introduction of evidence of other sweeps is not an attempt to amend the complaint.

   [Doc. #167]. Therefore, the Fed. R. Civ. P. 16 standard is not the appropriate standard for

   determining whether evidence of the sweeps on the dates listed in the Final Pretrial Order should

   be allowed to be presented at trial.

          4.3 Plaintiffs disclosed each date listed in the Final Pretrial Order in compliance
              with Fed. R. Civ. P. 26.

          The obligation to supplement a Fed. R. Civ. P. 26 initial disclosure is “only necessary

   when the omitted or after-acquired information has not otherwise been made known to the other

   parties during the discovery process.” 8A Charles Alan Wright & Arthur R. Miller, Federal

   Practice and Procedure § 2049.1 (3d ed. 2010) (internal quotation marks omitted); Fed. R. Civ.

   P. 26(e)(1)(A). Thus, “there is no need as a matter of form to submit a supplemental disclosure to

   include information already revealed by a witness in a deposition or otherwise through formal

   discovery.” Id.; see also Sealy v. Gruntal & Co., No. 94-CV-7948, 1998 U.S. Dist. LEXIS

   15654, 1998 WL 698257, at *2 (S.D.N.Y. Oct. 7, 1998) (“Since the identities of seven of these

   individuals were disclosed in deposition testimony, together with at least some information about

   their potential significance, plaintiff cannot demonstrate a clear-cut violation of [Fed. R. Civ. P.

   26] with respect to them.”).

          Possible penalties for violating Rule 26 include sanctions, the authorization of additional

   depositions, and preclusion, though “[p]reclusion is a ‘harsh remedy’ that ‘should only be

   imposed in rare situations.’” Lujan v. Cabana Mgmt., 284 F.R.D. 50, 68 (E.D.N.Y. 2012)

   (quoting Izzo v. ING Life Ins. & Annuity Co., 235 F.R.D. 177, 186 (E.D.N.Y. 2005)). “Because



   “maintain consistency and avoid reconsideration of matters once decided during the course of a
   single continuing lawsuit”). Plaintiffs ask that this Court apply the “law of the case” doctrine and
   give any argument raised by Denver related to the witnesses included in the Final Pretrial Order
   short-shrift.
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   refusing to admit evidence that was not disclosed during discovery is a drastic remedy, courts

   will resort to preclusion only in those rare cases where a party’s conduct represents flagrant bad

   faith and callous disregard of the Federal Rules of Civil Procedure.” Arista Records LLC v. Lime

   Grp. LLC, 784 F. Supp. 2d 398, 417 (S.D.N.Y. 2011) (quotations omitted) (emphasis in

   original); see Sealy, 1998 U.S. Dist. LEXIS 15654, 1998 WL 698257, at *3 (“In any event, with

   respect to each of the eight witnesses, there are remedial measures far less drastic than preclusion

   that would protect plaintiff from any conceivable unfair prejudice. Specifically, plaintiff may be

   authorized to conduct depositions of each of these individuals, if she so chooses . . . .”).

          As this Court found during the summary judgment briefing the dates of March 8, 2016,

   March 9, 2016, March 25, 2016, July 13, 2016, November 15, 2016, and November 28, 2016,

   were explored in-depth during depositions conducted by Denver and, therefore, “made known to

   [Denver] during the discovery process[.]” Id.; [Doc. #167], pp. 12-14. This Court, in its Order on

   the parties’ cross-motions for summary judgment, denied Denver’s request that the Court not

   consider any incidents not alleged in the Amended Complaint. [Doc. #167], pp. 12-14. In doing

   so, it stated “[a]ll alleged sweeps, whenever they happened, are relevant” to two questions: (1)

   whether Denver has a custom, policy, or practice of sweeping Plaintiff Class members in

   violation of their constitutional rights and (2) whether such sweeps are likely to recur such that

   Plaintiffs have standing to seek a permanent injunction. Id. Like the issue of whether these

   events required that the Complaint be amended, the “law of the case” doctrine mandates that this

   Court follow its previous ruling, consider these incidents properly disclosed, and not allow

   Denver to relitigate this issue. Huffman v. Saul Holdings Ltd. P’ship, 262 F.3d 1128, 1132 (10th

   Cir. 2001) (“[W]hen a court decides upon a rule of law, that decision should continue to govern

   the same issues in subsequent stages in the same case.’).



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           Further, like the dates of March 8, 2016, March 9, 2016, March 25, 2016, July 13, 2016,

    November 15, 2016, and November 28, 2016, Plaintiffs made know to Denver that the sweep on

    September 19, 2016, would be used to support Plaintiffs’ claims. Plaintiffs disclosed the identity

    of Rafael Blanes, and his experience during the pipe town sweep that occurred along the Platte

    River on September 19, 2016,8 in a supplemental disclosure and declaration that was sent to

    Denver in May 2017. Exhibit 1, Declaration of Rafael Blanes; Exhibit 2, Plaintiffs’

    Supplemental Initial Disclosures Pursuant to Federal Rule of Civil Procedure 26(a)(1).

           Finally, as soon as Plaintiffs were made aware of a sweep that occurred on June 1, 2017,

    they disclosed the witnesses that could testify as to that sweep through a disclosure in

    compliance with Fed. R. Civ. P. 26. Exhibit 3, Plaintiffs’ Second Supplemental Disclosures

    Pursuant to Fed.R.Civ.P. 26(e)(1). Denver will now have the opportunity to depose those

    individuals who have information related to this sweep. [Doc. #177], p. 2.

           Llewellyn v. Allstate Home Loans, Inc., supports the notion that Plaintiffs fulfilled their

    requirements under Fed. R. Civ. P. 26. 795 F. Supp. 2d 1210 (D. Colo. 2011), aff'd in part, rev'd

    in part on other grounds, 711 F.3d 1173 (10th Cir. 2013). In Llewellyn, the defendants moved to

    strike a declaration offered by the plaintiff in response to the defendants' motion for summary

    judgment. That declaration had been signed by the plaintiff's accountant, an individual who had

    not been formally disclosed under Rule 26(a)(1) as a fact witness or disclosed in the plaintiff's

    discovery responses. In denying the motion to strike, the court noted that the accountant had

    been a topic of questioning during the plaintiff's deposition and that defense counsel specifically

    had asked the plaintiff about “a produced document that had been previously created [by the




    8
     Mr. Blanes declares that the pipe town sweep occurred on August 20, 2016, but it also
    continued on September 19, 2016.
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    accountant] for purposes of the litigation.” Id. The court emphasized that defense counsel “knew

    during [p]laintiff's deposition that [the accountant] had discoverable information related to

    [p]laintiff's purported damages.” Id. at 1220. Similarly, here, Plaintiffs made it clear they would

    present evidence regarding the above-outlined sweeps, through direct testimony during

    depositions, the disclosure of declarations, and formal Fed. R. Civ. P 26 disclosures. Plaintiffs

    have complied with their requirements under Fed. R. Civ. P. 26 and “made known” to Denver

    that they would be using evidence related to each sweep listed in the Final Pretrial Order to

    prove their claims.

           4.4 Any failure to comply with Fed. R. Civ. P. 26 was substantially justified or
               harmless.

           Even if this Court determines that Plaintiffs violated Fed. R. Civ. P. 26(a) and/or (e),

    Plaintiffs should still be allowed to present evidence of the sweeps listed in the Final Pretrial

    Order. The Court has broad discretion in determining whether failure to disclose in accordance

    with Fed. R. Civ. P. 26(a) is justified. Woodworker’s Supply, Inc. v. Principal Mut. Life Ins. Co.,

    170 F.3d 985, 993 (10th Cir. 1999). When determining whether to allow evidence that was not

    disclosed in accordance with Fed. R. Civ. P. 26(a), “the court should consider the following

    factors: (1) the prejudice or surprise to the party against whom the testimony is offered; (2) the

    ability of the party to cure the prejudice; (3) the extent to which introducing such testimony

    would disrupt the trial; and (4) the moving party’s bad faith or willfulness.” Jacobsen v. Deseret

    Book Co., 287 F.3d 936, 952 (10th Cir. 2002). Each of these factors weigh in favor of a finding

    that any failure by Plaintiffs to disclose any of the incidents in the Final Pretrial Order was

    substantially justified and harmless.

                   4.4(a) Defendant is not prejudiced by the timing of the disclosure of the incidents
                          identified in the Final Pretrial Order.


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             As outlined above, each of the incidents was disclosed prior to the entry of the Final

    Pretrial Order. And Denver has had, and will have, plenty of time to prepare for testimony

    regarding each incident. There are over eight months until trial. Compare Moss v. Feldmeyer,

    979 F.2d 1454, 1459 (10th Cir. 1992) (finding that where “[disputing party] had over two weeks

    to prepare for [one disputed witness’s] cross-examination and eight days to prepare for [the other

    disputed witness’s] cross-examination” the disputing party was not prejudiced by the late

    disclosure), with Smith v. Ford Motor Co., 626 F.2d 784, 788-89 (10th Cir. 1980) (finding no

    ability to cure when opposing party given only eleven minutes to prepare cross-examination of

    surprise witness). Denver has even been given the opportunity by this Court to depose witnesses

    in connection with the June 1, 2017 sweep.

             Testimony regarding the incidents outlined in the Final Pretrial Order should, therefore,

    be no surprise to Denver and Denver will not be prejudiced by allowing testimony about the

    incidents outlined in the Final Pretrial Order at trial.

                    4.4(b) Any prejudice to Denver has been cured.

             Even if Denver is somehow prejudiced by the timing of the disclosure of the incidents

    outlined in the Final Pretrial Order, which (as noted above) is debatable at best, any prejudice to

    Denver has been cured. This Court has re-opened discovery and permitted Denver to depose

    those individuals who were listed as witnesses in Plaintiffs’ Final Pretrial Order that Denver has

    not yet deposed. Denver will be able to gather further information from members of the Plaintiff

    Class about the remaining incidents listed in the Final Pretrial Order. And, Denver has always

    had the ability to speak to their own officials and employees who carried out the sweeps on the

    listed dates. Additionally, Denver will have the opportunity to cross-examine each witness at

    trial.



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                    4.4(c) Allowing testimony regarding the incidents outlined in the Final Pretrial
                           Order to be presented at trial will not substantially disrupt this litigation.

            There is no potential for disruption of the trial in this matter. The trial in this case has

    been set for March 18, 2019, over eight months from today. Given the length of time between

    now and a possible trial date, Defendant has more than ample time to investigate the facts

    surrounding the listed incidents (and will be able to do so in multiple depositions this Court has

    allowed Denver to take within the next two months).

            Moreover, these incidents should not be news to Denver. Denver itself ordered the

    sweeps on these occasions. They were performed by its own employees. It seems unlikely that

    Denver would be unable to determine what happened during these sweeps from its own

    employees.

            Because the trial date in this matter is not in jeopardy and Defendant has more than ample

    time to investigate, allowing evidence relating to the incidents outlined in the Final Pretrial Order

    to be presented at trial would not disrupt this litigation.

                    4.4(d) Plaintiffs did not act in bad faith.

            As set forth above, the circumstances surrounding the disclosure of these witnesses and

    the evidence clearly show that there was no bad faith or otherwise improper conduct in

    Plaintiffs’ disclosure of the incidents listed in the Final Pretrial Order. And Denver does not

    allege that Plaintiffs acted in bad faith.

                    4.4(e) If this Court finds the factors weigh in Denver’s favor, lesser sanctions than
                           striking evidence relating to the incidents listed in the Final Pretrial Order
                           is appropriate.

            Even when witnesses have not been disclosed in the pretrial order and are disclosed

    within weeks of trial, exclusion of those witnesses’ testimony “is not required under Rule 37 as a

    sanction[.]” United States EEOC v. Caterpillar, Inc., 2004 U.S. Dist. LEXIS 18528, *25 (N.D.

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    Ill. Sept. 14, 2004) (emphasis added). Although Fed. R. Civ. P. 37(c)(1) is written in mandatory

    terms, it also vests the court with discretion to impose “other appropriate sanctions” in addition

    to or in lieu of an order striking witnesses or evidence not properly disclosed. See Woodworker’s

    Supply, Inc., 170 F.3d at 993 (recognizing that Fed. R. Civ. P. 37(c) vests broad discretion with

    the trial court); see also Yeti by Molly, Ltd. v. Deckers Outdoor Corp., 259 F.3d 1101, 1106 (9th

    Cir. 2001) (noting that the district court’s discretion should be given particularly wide latitude in

    imposing sanctions under Fed. R. Civ. P. 37(c)(1)); Ortiz-Lopez v. Sociedad Espanola de Auxilio

    Mutuo Y Beneficiencia de Puerto Rico, 248 F.3d 29, 34 (1st Cir. 2001) (holding that district

    courts have broad discretion in meting out Fed. R. Civ. P. 37(c) sanctions for Fed. R. Civ. P. 26

    violations).

           If the Court finds that any failure to disclose was not substantially justified and harmless,

    the Court should impose lesser sanctions than a complete bar to the admission of the evidence in

    order to allow the case to proceed to trial on the merits. Harvey v. United States, 2005 U.S. Dist.

    LEXIS 31109, *43 (D. Colo. 2005) (citing Scott v. IBM Corp., 196 F.R.D. 233, 247 n. 9 (D.N.J.

    2000) (noting that exclusion of evidence under Rule 37(c) is not appropriate unless the resulting

    prejudice cannot be cured)). In the alternative, the Court could order that discovery be reopened

    such that Defendant can conduct any necessary discovery related to these witnesses. Harvey,

    2005 U.S. Dist. LEXIS 31109 at *43-44 (citing Comuso v. AMTRAK, 1998 U.S. Dist. LEXIS

    18054, *2 (E.D. Pa. 1998) (holding that the importance of the excluded testimony is also an

    important final consideration in considering Rule 37(c) sanctions)). As the trial in this matter is

    not scheduled until March, this is a reasonable alternative. And the Court has already done this

    by allowing Denver to depose a number of witnesses related to one of the incidents listed in the

    Final Pretrial Order.



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                   4.4(f) The evidence relating to the incidents listed in the Final Pretrial Order may
                          be introduced at trial as rebuttal evidence.

           Finally, even if this Court upholds the exclusion of evidence relating to the incidents

    listed in the Final Pretrial Order from Plaintiffs’ case-in-chief, Plaintiffs may offer this evidence

    as rebuttal evidence at trial. See Burks v. Okla. Publ'g Co., 81 F.3d 975, 980 (10th Cir. 1996)

    (rebuttal witnesses may be called regardless of whether they are listed within terms of pretrial

    order); Roberts v. Roadway Express, 149 F.3d 1098, 1108 (10th Cir. 1998) (stating that party

    was not unfairly prejudiced by allowance of testimony at trial “in light of the – presumptively

    correct- characterization of the [disputed witnesses] testimony as rebuttal.”); Grove Fresh

    Distributors, Inc. v. New England Apple Prods. Co., 969 F.2d 552, 559-60 (7th Cir. 1992)

    (holding that there was no unfair prejudice in allowing witness not listed in pretrial order because

    district court “carefully limited . . . testimony to rebuttal topics”). As such, Plaintiffs may offer

    this evidence to “explain, repel, counteract, or disprove evidence of the adverse party.” United

    States v. Harris, 557 F.3d 938, 942 (8th Cir. 2009); United States v. Finis P. Ernest, Inc., 509

    F.2d 1256, 1263 (7th Cir. 1975), cert. denied, 423 U.S. 893 (1975). At the very least, complete

    exclusion of evidence relating to the incidents outlined in the Final Pretrial Order is unwarranted.

           4.5 Plaintiffs should be allowed to amend the Final Pretrial Order to present
                evidence of the sweep that occurred on July 9, 2018.

           Less than one month ago, and after the entry of the Final Pretrial Order, another sweep

    occurred that provides probative evidence that Denver continues to customarily sweep Plaintiffs’

    belongings in violation of the Fourth and Fourteenth Amendments. On July 9, 2018, ten or more

    Denver officials trashed, on video, an entire shopping cart full of one of Plaintiff Class

    Members’ belongings. Plaintiffs ask that this Court allow them to amend the Final Pretrial Order

    to add the videographer who witnessed the sweep, and his video, so that they may be presented



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    at trial to prove Denver’s ongoing custom, policy, and practice of violating Plaintiffs’

    constitutional rights. Absent amendment, Plaintiffs will suffer manifest injustice.

           The Tenth Circuit has said that the pretrial order “is a procedural tool to facilitate the trial

    of a lawsuit on its merits and not to defeat it on a technicality. We must not allow ourselves to

    construe the pre-trial order in the spirit of common law pleading.” Century Refining Co. v.

    Hall, 316 F.2d 15, 20 (10th Cir. 1963). Pursuant to Fed. R. Civ. P. 16(e), a Pretrial Order may be

    modified “to prevent manifest injustice.” Davey v. Lockheed Martin Corp., 301 F.3d 1204, 1208-

    10 (10th Cir. 2002). While “[o]nce formalized pretrial orders should not be changed lightly. . .

    total inflexibility is undesirable.” Advisory Comm. Note to Fed. R. Civ. P. 16(e).

           Overall, Plaintiffs’ request to modify the Final Pretrial Order falls in line with the

    instances where courts within the Tenth Circuit have found that amendment is necessary to

    prevent manifest injustice. Courts within the Tenth Circuit tend to grant amendments that are: (1)

    filed before trial has begun or is imminent, (2) do not seek to change the movant's theory of its

    case after discovery has closed, (3) do not seek to avoid prior rulings or otherwise show bad faith

    by the movant, and (4) the amendment could not have been anticipated prior to the filing of the

    Final Pretrial Order. That is certainly the case here.

           The trial in this matter is over 9 months away. Other courts have required amendment

    even when trial was much more imminent. Palace Expl. Co. v. Petroleum Dev. Co., 316 F.3d

    1110, 1117-18 (10th Cir. 2003) (abuse of discretion in denying addition of claim asserted

    seventeen days before trial; defendant could have sought continuance); Rush v. Speedway Buick

    Pontiac GMC, Inc., 525 F. Supp. 2d 1265, 1280 (D. Kan. 2007) (allowing amendment to add a

    defense because it would "ensure ... full and fair litigation" and trial was "still more than one

    month away"). And courts have consistently held that when there is an opportunity for further



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    discovery prior to trial, amendment is justified. Thomas v. Am. Family Ins. Co., No. 14-cv-2819-

    PAB-NYW, 2016 U.S. Dist. LEXIS 18349, 2016 WL 614467, at *3 (D. Colo. Feb. 16, 2016)

    (allowing amendment to add a report published after the final pretrial order, on which the

    movant's expert wished to rely; there was sufficient time for the opposing party to conduct

    discovery before trial); Rimbert v. Eli Lilly & Co., 647 F.3d 1247, 1255 (10th Cir. 2011) (abuse

    of discretion to not permit plaintiff to obtain substitute expert where trial had already been

    vacated for other reasons).

            Additionally, Plaintiffs proposed additions do not change their theory of the case. Since

    day one Plaintiffs have sought the unconstitutional customs, policies, and practices of Denver in

    their execution of the sweeps. Genesis Health Clubs, Inc. v. LED Solar & Light Co., 639 F.

    App'x 550, 557 (10th Cir. 2016) (denying amendment where proposed amendment after

    discovery would entirely change plaintiff's theory of damages and there was no mention

    of newly discovered evidence or any other good reason for the plaintiff's late change of mind).

            Moreover, Plaintiffs’ proposed amendment does not seek to avoid prior rulings or

    otherwise indicate bad faith in any way. Port-A-Pour, Inc. v. Peak Innovations, Inc., No. 13-cv-

    01511-WYD-BNB, 2016 U.S. Dist. LEXIS 194120, 2016 WL 7868814, at *2-3 (D. Colo. June

    29, 2016) (allowing amendment in part to permit removal of a stipulation based on recent

    discovery, but denying amendments that were potentially attempts “to evade my previous

    rulings”). In fact, this Court has yet to rule on the sweeps that Plaintiffs may present evidence of

    at trial (and that is the purpose of this motion), so there is no evidence that Plaintiffs are

    attempting to circumvent this Court’s previous decisions.

            Finally, Plaintiffs’ amendment could not have been anticipated prior to entry of the Final

    Pretrial Order. The Final Pretrial Order in this case was entered on May 4, 2018. The incident



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    Plaintiffs wish to add occurred on July 9, 2018. In a similar case, the Tenth Circuit in Davey

    found abuse of discretion in the district court’s denial of a motion to add an affirmative defense

    that was made possible by a Tenth Circuit case decided after the pretrial order. 301 F.3d at 1204.

    It is clear from precedent that Plaintiffs’ request to amend the Final Pretrial Order is consistent

    with the cases where the Tenth Circuit, and lower courts within the Tenth Circuit, have found

    that manifest injustice would result absent amendment.

           Even when examining each Koch factor (which this Court is not required to do), it is

    clear that they weigh in favor of amendment. The Tenth Circuit has explained that, when

    reviewing a decision by the district court to deny a request to amend the pretrial order, it will

    consider: (1) the extent of prejudice or surprise to the nonmoving party if the amendment were

    permitted; (2) the ability of that party to cure any prejudice; (3) disruption to the litigation by

    inclusion of the new issue; and (4) bad faith by the party seeking to modify the order. Koch v.

    Koch Industries, Inc., 203 F.3d 1202, 1222, n.10 (10th Cir. 2000) (noting that the factors are only

    applied by the Tenth Circuit to assess an abuse of discretion and that a district court is not

    required to consider each factor). Each of these factors weighs in favor of allowing Plaintiffs to

    amend the Final Pretrial Order.

                   4.5(a) There will be little surprise, or prejudice, to Denver should Plaintiffs be
                          permitted to amend.

           Denver itself caused the recent sweep of Plaintiffs’ property that occurred on July 9,

    2018. It should not be surprised by the actions of its own employees, which were undertaken

    pursuant to Denver’s customs, policies, and practices. There is no surprise that this incident

    occurred or that it would be included in this lawsuit.

           Further, “the timing of the motion in relation to the commencement of trial is an

    important element in analyzing whether the amendment would cause prejudice or surprise."

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    Palace Expl. Co., 316 F.3d at 1117. The trial in this matter is over eight months away. This

    factor weighs in favor of amendment.

                   4.5(b) Any prejudice to Denver can be cured.

           “With respect to the second factor—whether the prejudice can be cured—this factor is

    contingent, in part, on whether there is a need to re-open discovery.” Scavetta v. King Soopers,

    Inc., Civil Action No. 10-cv-02986-WJM-KLM, 2013 U.S. Dist. LEXIS 83307, at *7 (D. Colo.

    June 13, 2013). In this case, discovery is still open. The parties are currently working to set

    depositions in the beginning of September. And, Denver likely does not even need to undergo

    any discovery regarding the July 9, 2018 sweep. They are in possession of the video (which was

    disclosed to them). Their employees are the ones who perpetrated the sweep, and they can

    interview them freely outside of a deposition. Any prejudice to Denver can certainly be cured.

                   4.5(c) Amendment will not disrupt the litigation by including a new issue.

           Plaintiffs do not include any new issue in their amendment. Rather, they wish to include

    further evidence proving an issue: that Denver has a custom, policy, and practice of seizing, and

    destroying, Plaintiff Class Members’ property without due process of law in violation of their

    constitutional rights. Moreover, the Tenth Circuit has analyzed the third Koch factor as regarding

    disruption of an ongoing trial, not merely disruption of the current schedule. Davey, 301 F.3d at

    1211-1212. In this case, there is no disruption of an ongoing trial. In fact, there are almost nine

    months until the trial in this matter. This factor weighs in favor of allowing amendment.

                   4.5(d) The amendment is not sought in bad faith.

           Plaintiffs, and their counsel, could not have anticipated that Denver would conduct a

    sweep on July 9, 2018, in which a number of Denver employees trash one Plaintiff Class

    Member’s belongings in broad daylight. Plaintiffs do not seek to amend the Final Pretrial Order



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    in bad faith, or as a hide-the-ball tactic; they genuinely had no way of knowing prior to the entry

    of the Final Pretrial Order about the sweep that was to occur on July 9, 2018.

           Because every Koch factor weighs in favor of amendment, and Plaintiffs would suffer

    manifest injustice absent amendment, Plaintiffs ask that this Court allow Plaintiffs to amend the

    Final Pretrial Order to list Guillermo Roques Escolar as witness and the video he filmed of the

    July 9, 2018 sweep as an exhibit, and to allow Plaintiffs to present his testimony at trial.

    5. Conclusion

           In conclusion, “litigation should promote the finding of the truth, and, wherever possible,

    the resolution of cases on their merits.” Enos-Martinez v. Bd. of Cty. Comm’rs, Civil Action No.

    10-cv-00033-WJM-DLW, 2012 U.S. Dist. LEXIS 44460, at *4 (D. Colo. Mar. 30, 2012)

    (Martinez, J.). Denver seeks to preclude an abundance of evidence that is admissible, and helpful

    to this Court in determining whether: (1) Plaintiffs have standing; (2) Denver violated the

    constitutional rights of the Plaintiff Class; and (3) Denver violated Plaintiff Class’ constitutional

    rights customarily. Plaintiffs respectfully request that this Court enter an Order that only limits

    the presentation of the evidence by Plaintiffs’ affirmative witnesses to those incidents outlined in

    the Final Pretrial Order (inclusive of the amendment requested in this motion) and allows

    Plaintiffs to examine Denver officials regarding further incidents and plans for enforcement of

    the sweeps for the purpose of establishing Plaintiffs’ standing to seek a permanent injunction.

           Respectfully submitted this 8th day of August 2018.



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                                 CERTIFICATE OF SERVICE

           I certify that on this 8th day of August 2018 I filed a true and correct copy of this
    PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION FOR ORDER REGARDING
    DATES AND INCIDENTS AT ISSUE FOR TRIAL AND MOTION TO AMEND THE
    FINAL PRETRIAL ORDER via CM/ECF which will generate notice to the following
    via e-mail:

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    Geoffrey C. Klingsporn
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